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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                Criminal No. 21-cr-173(PJS/DTS)



UNITED STATES OF AMERICA

                       Plaintiff,                     MEMORANDUM OF LAW IN
                                                      SUPPORT OF MOTION TO VACATE
                                                      RESTRAINTS ON CERTAIN SEIZED
                                                      PROPERTY
       v.

ANTON JOSEPH LAZZARO et ano.,

                       Defendants.



                                    PRELIMINARY STATEMENT

       Untainted property may not be restrained before trial. This fundamental principle is

central to both civil and criminal federal forfeiture law. But it seems to go out the window when,

as here, the defendant property owner is perceived as wealthy.

       The theme of the government’s case against Mr. Lazzaro is not that he got rich from the

alleged unlawful activity. This is not a case where the defendant is alleged to have amassed his

fortune from illegal activity. Indeed, the forfeiture allegations in the indictment concede that

every dime Mr. Lazzaro owns is legitimate and derived from wholly legal sources.

       No, the theme of the government’s case is that Mr. Lazzaro should receive special

punishment because he is “rich.” Thus, the government maintains, it is somehow “fair” that he

be stripped of his legitimately acquired assets because his wealth is unseemly. Unbeknownst to

the Court, however, behind the scenes, the government has returned the vast majority of the

assets it seized from Mr. Lazzaro, including more than $1 million in gold bars, other precious


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metals and foreign currency it seized from his apartment. In addition, in its press releases and

forfeiture allegations, the government makes much of Mr. Lazzaro’s Ferrari, but quietly leaves

untouched his Cadillac – even though the same flimsy allegations of unlawful use are made

against both vehicles. Apparently, the optics of the Ferrari fit in with the government’s theme.

Similarly, the government continues to retain and seek the forfeiture of $371,000 in cash seized

from Mr. Lazzaro’s residence, even though its value is a fraction of the returned metals and

foreign currency, because, again, it suits the image of Mr. Lazzaro that the government seeks to

portray. This case is about perception and optics over substance and law.

       Perception and optics can only go so far, however. The properties seized by the

government and sought here to be released have not been shown to be either the proceeds of, or

involved in, the alleged criminal activity. Under the facts and the law, therefore, this property is

not subject to forfeiture and must be returned.



                         PROPERTY AT ISSUE ON THIS MOTION

       There are three categories of properties sought to be released on this motion: (1)

currency, (2) a vehicle and (3) various electronics. The cash and electronics were seized from

Mr. Lazzaro’s apartment ten months ago, during the execution of a search and seizure warrant

issued by Magistrate Judge Katherine M. Menendez and filed under seal on December 14, 2020,

and assigned Case No. 20-mj-913 (KMM) (“the search warrant”). This warrant, together with

the government’s affidavit in support of the warrant application and the “Receipt for Property”

listing the seized items, including the cash and electronics, is submitted herewith as Exhibit “B”

to the Declaration of Catherine Turner, Esq.

       The currency is sought to be forfeited in the indictment at ¶ 11(c), identified as



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“$371,240.00 in U.S. Currency” seized from Mr. Lazzaro’s residence on December 15, 2020. A

copy of the indictment is submitted herewith as Exhibit “A” to the Turner Declaration.

       The vehicle, an eleven-year-old Ferrari, was seized from the parking lot of Mr. Lazzaro’s

building pursuant to a civil seizure warrant issued on August 13, 2021 by Magistrate Judge

Becky R. Thorson, under Case No. 21-mj-583 BRT (“the seizure warrant”). A copy of the

seizure warrant, together with the affidavit in support of the government’s application, is

submitted herewith as Exhibit “C” to the Turner Declaration.

       The electronics sought to be forfeited are listed at subparagraphs (d) through (y) of ¶ 11

of the indictment, and include laptop computers, tablets, cellular telephones and electronic

storage media. The search warrant receipt confirms that all of the electronics, including those for

which the indictment does not specific the place or time of seizure, were in fact seized from the

residence at that time. See Ex. “B”. The government also seized a Google Pixel mobile phone

from Mr. Lazzaro’s person during the raid, but failed to include it in the search warrant receipt or

the indictment. Mr. Lazzaro seeks the return of this item as well.



                                  PROCEDURAL HISTORY

       The search warrant application reveals that the government expected to make a case for a

crime that was not borne out by the evidence seized during the execution of the warrant. Two of

the four alleged offenses for which the search warrant sought evidence were “Production and

Attempted Production of Child Pornography” in violation of 18 U.S.C. § 2251 and “Distribution

and Possession of Child Pornography” in violation of 18 U.S.C. § 2252(a). See Ex. B at p.3.

       This was apparently the basis for the seizure of every electronic device found in Mr.

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Lazzaro’s apartment, including nearly two dozen laptops, tablets and cellular phones. Indeed,

the search warrant receipt states that 4 ‘thumb drives’ and 14 SD cards – small digital file storage

media – were “previewed by BCA team” during the raid, presumably in hopes of finding a

‘honey pot’ of child pornography and expanding the search.

        But the team found nothing to support a child pornography charge. That is confirmed by

the absence of any such charge in the indictment that followed. And yet, despite that, the

government has retained every computer, tablet, cellular phone and electronic seized during the

raid.

        The only charges alleged in the indictment are six counts of “sex trafficking of a minor,”

one count of attempted sex trafficking of a minor, and three counts of “sex trafficking –

obstruction.” These are, of course, serious charges. But even the minimal factual allegations in

the indictment and the more detailed allegations in the search warrant affidavit make clear that

Mr. Lazzaro is not alleged to have been earning money from sex. He is alleged to have paid

money for sex.

        The first six counts of the indictment allege that Mr. Lazzaro “knowingly recruited,

enticed, harbored, transported, provided, obtained, maintained, patronized and solicited” six

females under the age of 18. Notably, the age of consent in this State is 16, and the search

warrant affidavit repeatedly makes clear that Mr. Lazzaro sought to ensure that each of the

females was over 16. One must wonder, therefore, why these counts are charged at all.

        In any event, the fact that Mr. Lazzaro is not alleged to have made money from sex has a

substantial impact on what property can be alleged to be subject to forfeiture. As Mr. Lazzaro is

not alleged to have received any money from the alleged sex acts that form the basis for the

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criminal charges, none of his assets can be alleged to constitute the proceeds of criminal activity.

That is a major limitation in the world of forfeiture.

       The government has already recognized this significant limitation on its forfeiture case.

It has returned much of Mr. Lazzaro’s seized assets, including more than a million dollars in

gold, silver and other precious metals as well as $6,247.96 in foreign currencies. See Letter from

AUSA Hochhalter to Court, dated September 10, 2021, submitted herewith as Exhibit “D” to the

Turner Declaration, and Second Stipulation to Extend Time for Commence Judicial Forfeiture

Proceedings, submitted as Exhibit “E” to the Turner Declaration.

       The only items not returned pursuant to the stipulations between the government and

counsel for Mr. Lazzaro are the electronics items and $371,240 in United States currency, also

seized from Mr. Lazzaro’s apartment more than ten months ago during the December 15, 2020

raid. The indictment seeks the criminal forfeiture of this property.

       The vehicle was seized in August 2021. The supporting affidavit alleges that the vehicle

is subject to forfeiture because Mr. Lazzaro allegedly used it “to facilitate the offenses by

transporting a minor victim to his home for the purpose of engaging in a commercial sex act” in

or about May 2020. Thus, the government’s claim against the vehicle is based upon a single

alleged illegal use. The “commercial sex act,” as with all of the trafficking claims, was alleged

to be sex with Mr. Lazzaro, not with third parties. The commerce, as with all of the trafficking

claims, was alleged to be given, not received, by Mr. Lazzaro.

       It appears that the government initially intended to seek the civil forfeiture of the Ferrari,

but recently decided to only seek to forfeit the vehicle in the criminal proceeding. See Ex. “E”.

       None of these properties – the electronics, the currency or the vehicle – have been shown

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to be subject to forfeiture. Accordingly, they must all be released.



                              LEGAL BASIS FOR THE MOTION

       The Supreme Court has made clear that the government may not seize or otherwise

restrain property pre-trial unless those seizures or restraints are supported by probable cause to

believe that the property is tainted, and thereby will be forfeitable. Luis v. United States, 578

U.S. 5, 136 S. Ct. 1083, 1090-92 (2016); Honeycutt v. United States, 581 U.S. ___, 137 S. Ct.

1626, 1633 (2017); Kaley v. United States, 571 U.S. 320, 323-24 (2014).

       The government must have probable cause to believe “(1) that the defendant has

committed an offense permitting forfeiture, and (2) that the property at issue has the requisite

connection to that crime.” Kaley, 571 U.S. at 323–24. Probable cause determinations are subject

to plenary review, and property that is not shown to be subject to forfeiture must be released.

Whether or not the government is able to restrain defendants’ assets pre-trial depends on the

nature of the assets at issue. Luis, 136 S. Ct. at 1089-90.

       The limitations on pretrial seizure and restraint of property reflect the limitations on

criminal forfeiture. Only two types of property may be subject to criminal forfeiture:

       (1) any property constituting, or derived from, any proceeds the person obtained,
       directly or indirectly, as the result of such violation [and]

       (2) any of the person’s property used, or intended to be used, in any manner or
       part, to commit, or to facilitate the commission of, such violation . . ..

21 U.S.C. § 853(a)(1)-(2).

       Unlike civil forfeiture, which is in rem, there can be no criminal forfeiture – which is in

personam – without a criminal conviction. See U.S.C. § 853(a) (“Any person convicted of a

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violation . . . shall forfeit” the property identified in subsections (1) and (2), above). See

generally S. Kessler, Civil and Criminal Forfeiture: Federal and State Practice, § 2A:1

(comparing jurisdictional and constitutional dimensions of criminal and civil forfeiture)

(ThomsonReuters 2021).

        As the United States Supreme Court has noted, “[t]hese provisions, by their terms, limit

forfeiture under § 853 to tainted property; that is, property flowing from § 853(a)(1), or used in §

853(a)(2), the crime itself.” Honeycutt, 137 S. Ct. at 1633.

        Section 853 sets forth the generally applicable standards and requirements for criminal

forfeiture. There are additional forfeiture provisions in the trafficking statutes that form the basis

for the charges against Mr. Lazzaro. These provisions mirror section 853 and similarly limit

forfeiture to property that constitutes the “proceeds” of, or is “involved in,” the criminal activity.

18 U.S.C. § 1594(d)-(e).

        The requirements for pretrial restraint or seizure of property sought to be forfeited in a

criminal case are also set forth in 21 U.S.C. § 853. Subsection (e) applies to pretrial restraints

and subsection (f) applies to pretrial seizures. While there are some differences between the two

sections – notably the higher standard for seizure – both sections are limited to property that

“would, in the event of conviction, be subject to forfeiture . . ..” 21 U.S.C. § 853(e)(1)(A); (2)

(restraint); id. § 853(f) (seizure).

        Thus, untainted property may not be subjected to pretrial restraint. This has been the law

in the Eighth Circuit since 1995. See United States v. Field, 62 F.3d 246 (8th Cir. 1995). In fact,

until 2017, all of the Circuits, except the Fourth, followed the statute. It was only after the

Supreme Court’s decision in Luis v. United States, 578 U. S. ___, 136 S. Ct. 1083 (2016), that

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the Court of Appeals for the Fourth Circuit acknowledged its error and expressly overruled a

quarter century of decisions from that court. See United States v. Chamberlain, 868 F.3d 290,

297 (4th Cir. 2017) (“Section 853(e) does not by its terms permit pretrial restraint of substitute

assets”). Notably, Luis addressed the release of untainted funds to pay a defendant’s counsel of

choice, but even the Fourth Circuit acknowledged that the Supreme Court’s discussion of the

issue was far broader, making it clear that Section 853(a) only permits pretrial restraint of tainted

property.

        The Supreme Court has made clear that where untainted funds are concerned, the

government cannot impose any restraints pretrial absent a showing of probable cause. Kaley,

571 U.S. at 327; see Luis, 136 S. Ct. at 1092 (distinguishing its prior cases -- United States v.

Monsanto, 491 U.S. 600 (1989) and Caplin & Drysdale, Chartered v. United States, 491 U.S.

617 (1989) – by emphasizing that in those cases the seizure of defendant's assets before trial was

permitted only because the government had probable cause to believe the property was proceeds

of, or traceable to, a crime).

        Once the property has been seized or restrained, the property owner is entitled to plenary

review to test whether the property in fact is tainted and “would, in the event of conviction, be

subject to forfeiture . . ..” As the Supreme Court recognized 70 years ago, “fairness can rarely be

obtained by secret, one-sided determination of facts decisive of rights. . ..” Joint Anti-Fascist

Refugee Comm. v. McGrath, 341 U.S. 123, 170-172 (1951) (Frankfurter, J., concurring).

        Thus, as the Supreme Court has held, prompt judicial review of property seizures in

forfeiture cases is constitutionally required:

                The practice of ex parte seizure . . . creates an unacceptable risk of error. .

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       .. In issuing a warrant of seizure, the magistrate judge need determine only that
       there is probable cause to believe that the real property was ‘used, or intended to
       be used, in any manner or part, to commit, or to facilitate the commission of,’ a
       felony . . ..

              The purpose of an adversary hearing is to ensure the requisite neutrality
       that must inform all governmental decisionmaking. That protection is of particular
       importance here, where the Government has a direct pecuniary interest in the
       outcome of the proceeding.

United States v. James Daniel Good Real Prop., 510 U.S. 43, 55-56 (1993) (citations omitted);

see Sandoval v. Cty. of Sonoma, 912 F.3d 509, 522 (9th Cir. 2018) (“Fourth Amendment

concerns could arise if an owner were not afforded a prompt hearing at which to contest the

validity of the temporary forfeiture . . ..”) (citing Krimstock v. Kelly, 306 F.3d 40, 54 (2d Cir.

2002), cert denied, 539 U.S. 969 (2003)).

       With prompt post-seizure or post-restraint review legally required, upon such review,

property that is not shown to be subject to forfeiture must be released. The Supreme Court has

strongly affirmed that these fundamental principles extend to all restrained property, whether

held for potential criminal forfeiture or civil forfeiture and whether restrained pursuant to seizure

orders, restraining orders or any other legal mechanism:

       Pretrial restraints on forfeitable property are permitted only when the Government
       proves, at a hearing, that (1) the defendant has committed an offense triggering
       forfeiture, and (2) ‘the property at issue has the requisite connection to that
       crime.’

Honeycutt, 137 S. Ct. at 1633 (quoting Kaley v. United States, 571 U.S. 320, 324 (2014)).

       As the Supreme Court explained, “whether property is ‘forfeitable’ or subject to pretrial

restraint under Congress’ scheme . . . depends on who has the superior interest in the property at

issue. . .. The distinction [between tainted and untainted property] is the difference between


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what is yours and what is mine. . .. If this were a bankruptcy case, the government would be at

most an unsecured creditor” of untainted property. Luis, 136 S. Ct. at 1091-92.

        There is no functional difference between the methods of pretrial restraint. All are equally

reviewable, both in the District Courts and on appeal. See, e.g., United States v. Real Property

Located at 1407 N. Collins St., 901 F.3d 268, 271-72 (5th Cir. 2018); United States v. E-Gold,

Ltd., 521 F.3d 411 (D.C. Cir. 2008) (“That which we call an injunction by any other name is

reviewable on interlocutory appeal. We therefore join our fellow circuits and hold that the

seizure warrant and restraining order are properly within our jurisdiction”) (citing, inter alia,

United States v. Kirschenbaum, 156 F.3d 784, 788 (7th Cir. 1998) (citing cases)).

        Therefore, it is black letter law that pretrial restraints of property are subject to plenary

review and, upon such review, any property found to be untainted must be released.



The Allegations Here Are Insufficient to Support Pretrial Retention of the Subject
Properties

        Neither the indictment nor the warrant affidavits demonstrate that any of the property

sought to be released on this motion is subject to forfeiture. Accordingly, these properties may

not be retained or restrained before trial and must be released.

        The Indictment: The indictment notices the government’s intention to seek forfeiture,

but fails to set forth the factual basis for forfeiture of any of the properties sought to be forfeited,

including, but not limited to, the currency, the vehicle and the electronics.

        The indictment states:

                As a result of the offenses charged in Counts 1 through 10, the defendants
        shall forfeit the following property to the United States pursuant to Title 18,

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        United States Code, Section 1594:
               (1)     Any property, real or personal, involved in, used or intended to be
                       used to commit or to facilitate the commission of the offenses, and
                       any property traceable to such property; and
               (2)     Any property, real or personal, constituting or derived from, any
                       proceeds       obtained, directly or indirectly, as a result of the
                       offenses, or any property traceable to such property.

Indictment (Ex. “A”), at p. 7, ¶ 11.

        This language merely parrots the statute. It sets forth no factual basis for the forfeiture of

any property. It is no more than a reservation of rights to seek the forfeiture of any property that

the government can prove, at trial, was the proceeds of or facilitated the criminal activity, if and

only if the government secures a conviction. The rules governing criminal forfeiture clearly

provide:

                [A]fter a verdict or finding of guilty . . . the court must determine what
        property is subject to forfeiture under the applicable statute. If the government
        seeks forfeiture of specific property, the court must determine whether the
        government has established the requisite nexus between the property and the
        offense.

Fed. R. Crim. P. 32.2(b)(1)(A).

        These procedures authorize a jury determination of the forfeiture phase of the proceeding

and require the jury to complete a special verdict form that separately determines whether the

government has satisfied its “nexus” burden with respect to each specific property sought to be

forfeited.

        The indictment here fails to allege a single fact establishing the “requisite nexus”

between any property sought to be forfeited and the alleged criminal activity. Nor do the

criminal counts of the indictment set forth any property-related allegations. The forfeiture

allegations allege only that “[t]he property subject to forfeiture includes, but is not limited to,”

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inter alia, the currency, the vehicle and the electronics, without any supporting facts. See Ex.

“A”, ¶ 11.

       While a conclusory statement in the government’s indictment alleges that the properties

are subject to forfeiture, “the grand jury did not vote on the forfeiture allegations, which were

simply notice provisions not subject to a grand jury vote.” United States v. Cosme, 796 F.3d

226, 234-35 (2d Cir. 2015). See Ex. “A” (Indictment) at ¶ 11, pp. 7-9.

       Accordingly, the indictment fails to set forth any basis for the pretrial retention of any

property, including, but not limited to, the currency, vehicle and electronics that are the subject

of this motion.

       The Warrant Applications: The warrant applications similarly fail to justify the

continued pretrial restraint of the currency, the vehicle or the electronics.

                  The Currency: The government’s application for the initial search warrant (Ex.

“C”) did not set forth any basis for the forfeiture of any currency. The list of “Particular Things

To Be Seized” in Attachment B to the warrant seeks “records that relate to the violations”

alleged. Fifteen categories of items are identified, including “all U.S. currency, gold bars, and

other financial instruments which could be used in exchange for sex . . ..”

       By its terms, however, the search warrant sought evidence of trafficking and child

pornography. It does not explain why the property sought, if seized, would be subject to

forfeiture. As established above, there is no allegation that Mr. Lazzaro received money from

the trafficking charges, so there is no basis for restraining the money as proceeds of the crime.

And the pornography charges were never filed because no evidence to support such charges

exist. Thus, the cash cannot be subject to forfeiture as the alleged proceeds of trafficking. See,

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e.g., United States v. Johnson, 683 F. App’x 241 (4th Cir. Apr. 3, 2017); United States v.

$8,221,877.16 in United States Currency, 330 F.3d 141, 158 (3d Cir. 2003) (“under section 981,

the government is required to trace the seized property directly to the offense giving rise to the

forfeiture”).

        Proceeds “traceable to” means property where the acquisition is attributable to the alleged

criminal activity rather than from money obtained from untainted sources. United States v.

Bornfield, 145 F.3d 1123, 1135 (10th Cir. 1998). In other words, property that a person “would

not have but for the criminal offense.” United States v. Grant, No. S4 05 CR 1192, 2008 WL

4376365, at *2 n.1 (S.D.N.Y. Sept. 25, 2008).

        The allegation that the currency, gold bars and other financial instruments found “could

be used in exchange for sex” is similarly insufficient for seeking to restrain and forfeit more than

$371,000 in currency. This was not a drug dealer’s ‘buy money.’ The amounts of cash alleged

to be involved in the trafficking charges in the warrant affidavit are vague, but even if the facts

of the six alleged acts are liberally construed, a generous total would be less than $10,000 during

the eight month period alleged in the indictment.

        Further, if the funds allegedly used to commit the trafficking violations had been

withdrawn from a bank account with a balance of nearly $400,000, the government would not

allege that the entire account was tainted by a few small withdrawals made during an eight

month period. Indeed, the warrant affidavit itself alleges that Mr. Lazzaro used a credit card to

purchase a handbag for one of the alleged victims. Ex. “C” at ¶ 31. Yet, the government is not

seeking to seize or forfeit the credit card or the accounts used to pay the credit card bills.

        Further, the government has already returned, without condition, the gold bars, foreign

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currency and other precious metals seized from Mr. Lazzaro’s residence. The government

returned this valuable property because there is no basis to forfeit it or restrain it before trial.

Yet, the indictment alleges that the gold bars, like the currency, “could be used in exchange for

sex . . ..”

         The currency is not more ‘forfeitable’ than these other assets. The difference is practical,

not legal. Currency is typically easier for the government to forfeit because it is fungible and

stable and does not require the labor of sale or liquidation to be of value to the government.

         Further, the currency is not subject to forfeiture as property “involved in” – or intended to

be involved in – sex trafficking. Property sought to be forfeited on a facilitation or “involved in”

theory must have a “substantial connection” to the alleged criminal activity. See, e.g., von Hofe

v. United States, 492 F.3d 175, 186 (2d Cir. 2007) (“CAFRA now requires, as part of the

government’s case-in-chief, that it prove to the jury that there was a substantial connection

between the property and the offense”) (citations and internal quotations omitted); United States

v. Real Prop. Located at 3234 Washington Ave. N., Minneapolis, Minn., 480 F.3d 841, 843 (8th

Cir. 2007) (same). There is no connection, much less a ‘substantial connection,’ between the

untainted funds that were seized from Mr. Lazzaro’s residence and the alleged criminal activity.

         Because the currency has not been shown to be forfeitable under either a proceeds or

facilitation theory, it cannot be retained or restrained before trial pursuant to 21 U.S.C. § 853(e)-

(f). There is nothing in the indictment or the government’s submissions that permits the restraint

of these funds before trial. Accordingly, the funds must be released.

                The Vehicle: The vehicle was seized pursuant to a separate seizure warrant

application filed nearly eight months after the execution of the initial search warrant. Ex. “D”.

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Although an entire affidavit is devoted solely to the seizure of the vehicle, the government’s

application fails to establish that the vehicle is subject to forfeiture. Accordingly, the vehicle

also must be released.

       At the outset, it should be clear that the government does not challenge the fact that the

vehicle was purchased with 100% untainted funds and thus is not even arguably subject to

forfeiture as proceeds of the alleged criminal activity. Instead, the seizure warrant application

alleged only that the vehicle was subject to forfeiture as property “involved in or facilitating

violations” of the charged trafficking statutes. Ex. “D”, ¶ 11.

       The alleged facilitation, however, is based on one single alleged use of the vehicle in the

“spring of 2020”:

       Lazzaro drove the Ferrari to a park in the St. Michael/Albertville area where he
       picked up one of the minor victims. Lazzaro then drove the minor victim in the
       Ferrari from the park to his home in Minneapolis, Minnesota. At Lazzaro’s home,
       the minor victim drank alcohol and got really drunk. After she and Lazzaro had
       sex, she went to sleep and stayed at his place for the night. (Ex. “D”, ¶ 9).

       Notably, the agent’s affidavit does not allege that Mr. Lazzaro enticed the alleged victim

to have sex with him with a promise of money in advance. It alleges only that Mr. Lazzaro

asked her to come to his residence through a social media application and then “gave her about

$400” the next morning. Ex. “D”, ¶ 9. As the statute requires a “commercial sex act,” it is

questionable whether the facts underlying even this single alleged unlawful use of the vehicle

constitute a violation of the law.

       Further, and equally fundamental, the single alleged illegal use of the vehicle falls

drastically short of the “substantial connection” required for the forfeiture and pretrial restraint or

seizure of facilitating property. The forfeiture of a vehicle with a book value in the

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neighborhood of $100,000 for a single possibly illegal use would violate the proportionality

principle that underlies the “substantial connection” requirement. See, e.g., United States v.

Bajakajian, 524 U.S. 321, 336-38 (1998).

          The government’s motivation for seeking the forfeiture of the vehicle on such a slender

thread appears to be based solely on the fact that it is a famous, high-priced Italian designer

sports car that gives the government positive optics for the unstated position that Mr. Lazzaro’s

wealth makes him an attractive target for a large forfeiture judgment.

          If there remains any doubt that the seizure of the vehicle – eight months after the arrest

and execution of the initial warrant – seeks to capitalize on appearances, not substance, the Court

need look no further than the last sentence of the same paragraph of the agent’s affidavit quoted

above: “The next morning, Lazzaro gave her about $400 and took her back to another minor

victim’s house using a different vehicle, a black Cadillac sedan.” Ex. “D”, ¶ 9 (emphasis

added).

          The government is not seeking to forfeit Mr. Lazzaro’s Cadillac, which is alleged to have

been used for the same unlawful purpose as his Ferrari. The Cadillac, like the Ferrari, “could be

easily moved, hidden, sold to someone else, or somehow otherwise made unavailable for

forfeiture to the United States” (Ex. “D”, ¶ 12) – the government’s primary justification for

claiming the need for a physical seizure of the vehicle pursuant to 21 U.S.C. § 853(f) rather than

a restraining order under subsection (e). The Cadillac, however, does not help the government

frame its portrayal of Mr. Lazzaro as a worthy forfeiture target.

          Further, it is notable that the initial search warrant, which sets forth the substance of the

government’s interviews with the alleged victims in some detail, made no reference to any

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vehicles belonging to Mr. Lazzaro, let alone that any such vehicles had been used to transport the

alleged victims. In fact, the narrative summaries of the interviews with the alleged victims

appear to imply that they arranged their own transportation to Mr. Lazzaro’s residence. See, e.g.,

Ex. “C”, ¶ 12 (“V-1 and Medina went to Lazzaro’s penthouse . . .”); id. ¶ 23 (“V-2 said that she

drove to Lazzaro’s apartment at the Hotel Ivy with V-3 and another friend . . ..”); id. ¶ 27 (“V-4

and V-5 met Lazzaro at his residence ....”). One transport was alleged to have been “an Uber

arranged by Lazzaro.” Id. ¶ 14.

        In sum, a “substantial connection” between the Ferrari and the alleged criminal activity is

completely absent. Accordingly, the vehicle must be released because it has not been shown to

be subject to forfeiture.

        The Electronics: The government has seized and seeks to forfeit a total of 38 laptops,

tablets, mobile phones and digital storage media. The primary basis for the seizure of these

items asserted in the search warrant application was to search for evidence to support child

pornography charges.

        [T]he cellular telephone would include contact information, photographs, videos,
        text messages, and other communication between the trafficker and the victims
        and the trafficker and co-conspirators. I also know that cellular telephones are
        used to take photographs and/or videos to advertise (via the Internet) victims for
        commercial sex acts, often wearing minimal to no clothing, some of which may
        constitute child pornography. They also may be used to record sex acts as part of
        the grooming or recruiting process. Moreover, through the use of GPS
        technology, cellular telephones are used to record locations or travel and
        communication. Cellular telephones can also contain evidence that may be
        indicative of obstruction or the attempt to obstruct or in any way interfere with or
        prevent the enforcement of federal sex trafficking laws. Cellular telephones can
        also contain evidence that may be indicative of the concealment and/or use of
        illicit proceeds from commercial sex to further promote the commercial sex or
        ‘pimping’ business through email, text messages, and online banking and online
        purchasing activities. (Ex. “C”, ¶ 37).

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       No evidence of child pornography, recorded sex acts, or concealment or use of illicit

proceeds or unlawful online banking activities was found in Mr. Lazzaro’s electronics, and no

charges or forfeiture claims related to child pornography, illicit proceeds or unlawful online

banking have been filed.

       It is unclear why the government continues to retain these electronics. If there are any

digital files on these devices that the government intends to use as evidence, the government

must make an affirmative showing in that regard with respect to each cellular phone, laptop

computer and tablet that it seeks to retain pending trial. See, e.g., Ashanti v. City of Golden

Valley, 2011 WL 1114320, at *3 (D. Minn. Mar. 24, 2011) (prosecutor’s decision to retain

property as evidence subject to judicial review), aff’d, 666 F.3d 1148 (8th Cir. 2012) (citing

Krimstock v. Kelly, 464 F.3d 246, 255 (2d Cir. 2006)).

       Further, there is no claim that any of the electronics constitute or are traceable to the

proceeds of the charged criminal activity. If the government seeks to retain any of the

electronics for potential forfeiture as property “involved in” alleged criminal activity, it must

establish a “substantial connection” between each electronic device and the filed charges.

Nothing submitted to date by the government supports such retention or forfeiture.

       Further, if the government’s basis for retaining any of the electronics is that they contain

digital evidence to support any of the charges, those files should be copied, the copies retained

by the government for trial and the electronics returned to Mr. Lazzaro.

       In sum, there has been no showing whatsoever of a “substantial connection” between any

of the electronics and the alleged criminal activity. Therefore, none of the electronics have been

shown to be subject to forfeiture. Accordingly, the electronics must be released.



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                                         CONCLUSION

       The cash, vehicle and electronics seized and restrained by the government and discussed

above have not been shown to be subject to forfeiture as proceeds of or property involved in the

charged criminal activity pursuant to 18 U.S.C. § 1594 and/or 21 U.S.C. § 853. Accordingly, for

all the foregoing reasons, movant Anton Lazzaro respectfully requests the release of (1)

$371,240 in United States currency, (2) a 2010 Ferrari convertible, VIN ZFF65LJA9A0173846

and (3) the 38 laptop computers, tablets, cellular phones and digital storage media listed at

paragraphs 11(d) through 11(y) of the Indictment, as well as the Google Pixel mobile phone that

was seized from Mr. Lazzaro at the time of his arrest, but notably omitted from the search

warrant receipt or the indictment.



Dated: October 28, 2021                       Respectfully submitted,

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